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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                           Cr. No. 2:25cr20032-JTF

SANJEEV KUMAR,

               Defendant.

     MOTION FOR MODIFICATION OF BOND CONDITIONS AND INCORPORATED
                       MEMORANDUM IN SUPPORT


        Dr. Sanjeev Kumar, by and through undersigned counsel, respectfully submits this Motion

for Modification of Bond Conditions and Incorporated Memorandum in Support. During Dr.

Kumar’s detention hearing, this Court questioned whether Dr. Kumar could close his clinic, Poplar

Avenue Clinic, and continue to fulfil his obligations to patients to provide them with their medical

records, given that this Court also imposed a bar on contact with witnesses and victims. Dr. Kumar

agreed to close his medical practice but indicated that he may request the Court’s reconsideration.

Considering the obligations Dr. Kumar owes his patients, the strong need of the community for his

specialized surgical services, the evidence in the case, and the Government’s misplaced allegations

and outrageous statements to the media, Dr. Kumar respectfully requests this Court reconsider his

conditions of bond. Specifically, Dr. Kumar requests that he be permitted to reopen the Poplar

Avenue Clinic and to practice medicine with conditions as deemed necessary by the Court.

                                  FACTUAL BACKGROUND

        Dr. Kumar is one of only 300 specialists nationwide in gynecologic oncology and high risk

robotic pelvic surgery. His clinical expertise covers critical conditions such as cervical cancer,

endometrial cancer, ovarian cancer, pelvic masses and tumors, and vulvar and vaginal cancers. A

highly regarded Mayo Clinic-trained surgeon, Dr. Kumar has co-authored over 40 peer-reviewed

publications and received numerous awards. (See Motion for Release, ECF No. 12, Exhibit A.)

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       Dr. Kumar’s specialty is rare. The Poplar Avenue Clinic is the only clinic providing these

specialized services within an approximately 200-mile radius of Memphis that can treat women

dealing with these critical conditions in high-risk situations. The nearest specialty surgeons are in

Nashville, Chicago, or Dallas. On the day of his arrest, Dr. Kumar had eight scheduled surgeries

which had to be cancelled. Further, Dr. Kumar routinely performs 10-15 surgeries per week, and

approximately 50% of those cases each week either have cancer or precancerous conditions that

could progress and kill a patient due to lack of timely surgery. Additionally, Dr. Kumar operates a

busy practice focused on patients who are high-risk for developing cancer due to factors such as

obesity. At his clinic, Dr. Kumar and other qualified staff see approximately 50 patients per day, 6

days a week. They have already been forced to turn hundreds of patients away, including those at

risk of developing cancer.

       Dr. Kumar’s patients are suffering because they cannot afford critical treatment or to travel

long distances to receive such treatment. Notably, there are no allegations in the Indictment related

to Dr. Kumar’s surgical procedures. The Government has also indicated to undersigned counsel

that patients are calling the Government daily asking how to receive medical care and their medical

records now that Dr. Kumar is restricted from practicing medicine.

       At Dr. Kumar’s initial appearance and detention hearing, the Government maintained that

Dr. Kumar was a threat to public safety. The only charge in the Indictment that could potentially

support this claim is violation of 18 U.S.C. § 2422(a), which prohibits coercing and enticing an

individual to cross state lines to engage “in prostitution, or in any sexual activity for which any

person can be charged with a criminal offense”. The Government categorized Dr. Kumar’s alleged

actions as crimes of violence. But Dr. Kumar has been charged with 18 U.S.C. § 2422(a) on an

unsturdy charging theory that equates the misbranding or adulteration of medical devices and

health care fraud to sexual abuse. The Government has not rebutted this otherwise.

       Putting those charges aside, the Indictment boils down to two alleged issues: adulterating

or misbranding hysteroscopes, and unnecessary hysteroscopies. As for the first category of

allegations, the Tennessee Department of Health (“TDOH”) launched a state investigation after
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the Government provided it with evidence seized during a search warrant executed at the Poplar

Avenue Clinic last April. TDOH found insufficient evidence to support any allegations that Dr.

Kumar was adulterating or misbranding hysteroscopes. As for the Government’s allegations that

some hysteroscopies Dr. Kumar performed were medically unnecessary, the proof of such claims

requires expert medical opinions, which the Government fails to disclose.             Crucially, the

Indictment itself contains no allegations of sexual assault or of instances of patient harm. Instead,

the Indictment in large part amounts to a disagreement between Dr. Kumar’s clinical decision-

making and what Medicare and Medicaid agree to reimburse. Dr. Kumar is confident of proving

medical necessity in each case, agreed to by the patients themselves.

                                           STANDARD

       The Court “may at any time amend the order to impose additional or different conditions

of release.” 18 U.S.C. § 3142(c)(3). Conditions of release must be tailored such that they are the

least restrictive means of ensuring the Defendant’s appearance and the safety of the community.

Id. Until the Defendant is found or pleads guilty, it is the Government’s “ultimate burden” to show

“no conditions of release can assure that the defendant will appear and to assure the safety of the

community.” United States v. Stone, 608 F.3d 939, 946 (6th Cir. 2010).

When determining whether there are conditions of release that will reasonably assure the

appearance of the defendant and the safety of the community, the Court must consider “the nature

and circumstances of the charged offense, the weight of the evidence against Defendant,

Defendant’s history and characteristics, and the nature and seriousness of the danger Defendant’s

release would pose to any person or the community.” United States v. D-1, Dr. Bothra, 2019 U.S.

Dist. LEXIS 231749, *2–3 (E.D. Mich. Jan. 16, 2019) (citing 18 U.S.C. § 3142(g)). But “[n]othing

in [18. U.S.C. § 3142] shall be construed as modifying or limiting the presumption of innocence.”

United States v. Johnson, 2007 U.S. Dist. LEXIS 42718, *6 (E.D. Mich. June 13, 2007) (citing 18

U.S.C. § 3142).

       A condition of release may include limiting a physician’s ability to practice medicine if the

Court believes such a condition is required to protect the safety of the community. These
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circumstances are case specific and rely on careful consideration of the facts. See United States v.

D-6 Tariq Omar, Case No. 17-cr-20465-DPH, ECF No. 478 (E.D. Mich. April 7, 2020) (unreported

and attached hereto as Exhibit A) (permitting physician to volunteer his time as a pulmonologist

to assist with the COVID-19 pandemic); United States v. Johnson, 2007 U.S. Dist. LEXIS 42718

(E.D. Mich. June 13, 2007) (releasing on bond, over presumption of detention, physician charged

with possession and distribution of child pornography and permitting physician to continue

practicing medicine so long as he had no contact with minors unless in the presence of another

medical professional).
                                          ARGUMENT

        Dr. Kumar’s conditions of release currently in place stem from the Government’s

unsubstantiated theory of protecting the public from alleged sexual abuse. The Government

misrepresented the allegations in this case accusing Dr. Kumar of “sexual abuse” and labeling him

a “predator in a white coat.” (See Exhibit B, USAO Press Release, dated February 28, 2025. The

Government has subsequently withdrawn at the request of Dr. Kumar the allegation that he is a

“predator in a white coat.”) Those allegations limited Dr. Kumar’s Constitutionally guaranteed

presumption of innocence. Dr. Kumar is a respected member of the community, an award-winning

physician, and an individual with no past criminal history. There are conditions that can still

reasonably assure public safety that are less restrictive than the currently imposed conditions

requiring Dr. Kumar to shut down his medical clinic and not practice medicine, which subjects

hundreds of high-risk patients to scrambling to find medical coverage and forcing them to travel

long distances.

   I.      The public need for Dr. Kumar’s services outweighs any alleged and
           unsubstantiated concerns of patient harm.
        Despite the public need for Dr. Kumar’s specialty surgical services, the Government

maintains that Dr. Kumar’s clinic should be shut.         The specific procedure in question, a


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hysteroscopy, is a minimally invasive procedure commonly performed for numerous medically

justified reasons, including fertility issues, abnormal pap smears, uterine bleeding, endometriosis,

miscarriages, removal of scar tissue, fibroids, polyps, and biopsies. Dr. Kumar’s treatments were

consistently supported by appropriate medical diagnostics and referrals from respected primary

care physicians nationwide. The public need for Dr. Kumar’s specialty surgical services outweighs,

therefore, any alleged and unsubstantiated concerns of patient harm, for which none are outlined

in the Indictment. A hysteroscopy is critical in diagnosing uterine cancer. If it is not performed,

patients can suffer or potentially die because of a missed diagnosis of uterine cancer.

       To reiterate, Dr. Kumar’s specialty is such that his clinic is the only one within

approximately a 200-mile radius of Memphis that can treat women in high-risk situations requiring

the services of a gynecologic oncologist. The nearest specialty surgeons are in Nashville, Chicago,

or Dallas. For those patients who are on Medicare and Medicaid the distance of receiving like

treatment is probably out of reach. On the day of his arrest, Dr. Kumar had eight scheduled

surgeries which had to be cancelled. Overall, Dr. Kumar has 10-15 surgeries scheduled per week,

and 50% of those patients on average present with cancerous or precancerous conditions. Dr.

Kumar’s patients are suffering because they cannot afford critical treatment or to travel long

distances to receive such treatment. Further, patients have been calling the Government daily

asking how to receive medical care and their records.

       It is not just his surgical patients who are suffering. At his clinic, Dr. Kumar and other

qualified staff see approximately 50 patients per day, 6 days a week. The clinic has already been

forced to turn hundreds of patients away. These are patients who are at a high risk of developing

cancer if not properly monitored and treated. These patients have nowhere left to go.




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   II.       There are less restrictive conditions that will assure public safety.

         TDOH investigated and found insufficient evidence to support the same adulteration and

misbranding charges the Government now alleges against Dr. Kumar. If TDOH is satisfied with

Dr. Kumar’s practice of medicine, Dr. Kumar’s right to practice medicine should not be revoked

based on a billing disagreement. Dr. Kumar respectfully requests this Court allow him to reopen

the clinic and permit him to practice medicine in accordance with TDOH’s findings.

         If the Court is not inclined to do so at this stage, there are several less restrictive conditions

that Dr. Kumar requests the Court consider. For example, Dr. Omar was permitted to volunteer his

time as a pulmonologist. Omar, Case No. 17-cr-20465-DPH. And Dr. Johnson, though charged

with possession of child pornography, was still permitted to practice medicine and perform surgical

procedures while charges were pending so long as he was not alone with minors. Johnson, 2007

U.S. Distr. LEXIS 42718. In each case, the Court narrowly tailored the conditions of release

permitting physicians to practice medicine (even those facing a presumption of detention).

         Here, Dr. Kumar is presumed innocent. He has not pleaded guilty. He has not been

convicted by a jury. He is a highly-respected physician who has won multiple awards for his work.

If, and until, the Government can prove the allegations in the Indictment, Dr. Kumar should be

permitted to practice medicine. If the Court has specific concerns about the allegations, such

concerns can be addressed by narrowly tailored restrictions, such as prohibiting Dr. Kumar from

using single-use scopes and treating minors and appointing an individual to monitor his cleaning

logs and documentation of informed consent. Dr. Kumar further requests that Poplar Avenue

Clinic be permitted to reopen and operate. There are many other qualified practitioners in addition

to Dr. Kumar who wish to continue practicing medicine and taking care of their patients.




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   III.      The weight of evidence (though the least important factor) supports allowing Dr.
             Kumar to practice medicine.

          The Government’s charging theory—that misbranding or adulterating devices or

committing health care fraud amounts to sexual abuse—is novel. Most of the allegations in the

indictment are unsupported by factual allegations. The adulterating and misbranding allegations

lack dates or specific instances of such alleged conduct.           Those allegations were recently

investigated by TDOH who found insufficient evidence to support any allegations that Dr. Kumar
was adulterating or misbranding hysteroscopes. Moreover, Dr. Kumar presently uses multi-use

scopes which are cleaned and sanitized with the most updated medical equipment and procedures.

(See Exhibit C, Photograph of Sanitizing Equipment and Hysteroscopes.)

          As for the health care fraud charges, the Indictment does not cite any expert medical

testimony backing the claims that such minimally invasive procedures in a high-risk population

are unnecessary. Dr. Kumar maintains each and every procedure was medically necessary for the

health and well-being of the patient. He had no knowledge or intent to defraud. Additionally,

Medicaid placed Dr. Kumar on a pre-payment review in the past in which Medicaid specifically

reviewed claims related to hysteroscopy procedures prior to paying Dr. Kumar for such services.

Put simply, Medicaid reviewed and approved claims submitted by Dr. Kumar for hysteroscopies.

Therefore, the claims were not material to Medicaid’s decision to pay, as they had an option to

continue a pre-payment review or deny payment and chose not to do so.

          Crucially, the indictment itself contains no allegations of sexual assault or of instances of

patient harm, which directly contradicts the Government’s position that Dr. Kumar engaged in a

crime of violence. Rather, it charges Dr. Kumar on a new and unsupported theory that the

adulteration or misbranding of devices or health care fraud can amount to sexual abuse. In reality,

the Indictment largely amounts to a payment disagreement between Dr. Kumar’s clinical decision-

making and what Medicare and Medicaid agree to reimburse.

          In sum, the weight of the evidence is not strong and should be considered when modifying

bond conditions. Vague and unsupported theories of sexual abuse do not justify taking away Dr.


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Kumar’s right to practice medicine. The Government has already prosecuted Dr. Kumar in the

public eye, treating him as a “predator” and essentially stripping him of his Constitutional rights,

even though he remains innocent until proven guilty. In effect, the Government has already taken

away everything from Dr. Kumar, including his livelihood, all while he remains innocent.

Prohibiting Dr. Kumar from practicing medicine and operating the Poplar Avenue Clinic to treat

patients is unjust and not the least restrictive means necessary by which to assure public safety

when no allegations of patient harm can be supported.

                                         CONCLUSION

       Dr. Kumar respectfully requests the Court grant his Motion for Modification of Bond

Conditions, including that he be allowed to reopen the Poplar Avenue Clinic and practice medicine.

At a minimum, Dr. Kumar requests he be allowed to continue practicing medicine and performing

surgical procedures, for which the Government has made no allegations of wrongdoing, and to be

permitted to reopen the clinic for other qualified staff to practice medicine. There are other

conditions which the court can impose including his not performing an exam on a minor unless

authorized by the court, to require only multi-use devices be used in examinations or to require a

chaperone with Dr. Kumar in his office examinations.

                                                     Respectfully submitted,


                                                     s/ Elena R. Mosby
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document
has been filed using the Court’s CM/ECF system this 17th day of March 2025, which will
automatically send a copy of the filing to the following:

       Lynn Crum, AUSA (lynn.crum@usdoj.gov)
       Scott Smith, AUSA (scott.smith@usdoj.gov)
       Sarah Pazar Williams, AUSA (sarah.williams2@usdoj.gov)

                                                       s/ Elena R. Mosby



                            CERTIFICATE OF CONSULTATION

        The undersigned hereby certifies that counsel for Dr. Kumar has consulted with counsel
for the United States regarding the instant motion this 17th day of March 2025. The United States
does not agree with modifying Dr. Kumar’s conditions of release on bond.

                                                       s/ Elena R. Mosby




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